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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
            v.                       )  CRIMINAL NO. 21-cr-10104-PBS
                                     )
VLADISLAV KLYUSHIN                   )
            Defendant                )
____________________________________)

 ASSENTED-TO MOTION TO CONTINUE MOTION IN LIMINE FILING DEADLINE
                       TO DECEMBER 19, 2022

       Now comes the Defendant, Vladislav Klyushin, by and through undersigned counsel, and

hereby respectfully moves this Honorable Court to continue the motion in limine filing deadline

of December 15, 2022 to December 19, 2022.

       This Honorable Court set a December 15, 2022, deadline for the filing of the parties’

motions in limine. Dkt. 113. Due to family circumstance, one of Mr. Klyushin’s attorneys needs

additional time to finalize and review the motions with Mr. Klyushin. Additionally, the defense

has sought additional information concerning the bases for one of the Government’s expert

witnesses’ opinions to clarify, what, if any, challenges the defense will bring to the proposed

testimony. Accordingly, with the assent of the Government, the defense respectfully requests

this Honorable Court to extend the motion in limine filing deadline to December 19, 2022.

       WHEREFORE, the defense respectfully requests that this motion be granted.

                       COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       The undersigned counsel has conferred with the Government, who by and through

AUSAs Seth Kosto and Stephen Frank, assent to this request.




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                                                   Respectfully Submitted,
                                                   Vladislav Klyushin,
                                                   By His Attorney,

                                                   /s/ Maksim Nemtsev
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Dated: December 15, 2022



                               CERTIFICATE OF SERVICE

        I, Maksim Nemtsev, hereby certify that on this date, December 15, 2022, a copy of the
foregoing documents has been served via Electronic Court Filing system on all registered
participants.



                                                   /s/ Maksim Nemtsev
                                                   Maksim Nemtsev, Esq.




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